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1    James H. Weingarten, DC Bar No. 985070
     Peggy Bayer Femenella, DC Bar No. 472770
2    James Abell, DC Bar No. 990773
     Cem Akleman, FL Bar No. 107666
3    Jennifer Fleury, NY Bar No. 5053178
     Meredith R. Levert, DC Bar No. 498245
4    James Gossmann, DC Bar No. 1048904
     Amanda L. Butler, IL Bar No. 6299218
5    Federal Trade Commission
     600 Pennsylvania Avenue, NW
6    Washington, DC 20580
     Tel: (202) 326-3570
7
     jweingarten@ftc.gov; pbayer@ftc.gov:
8    jabell@ftc.gov; cakleman@ftc.gov;
     jfleury@ftc.gov; mlevert@ftc.gov;
9    jgossmann@ftc.gov; abutler2@ftc.gov
10   Erika Wodinsky, Cal. Bar No. 091700
     90 7th Street, Suite 14-300
11   San Francisco, CA 94103
     Tel: (415) 848-5190
12
     ewodinsky@ftc.gov
13
     [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
14
     Attorneys for Plaintiff Federal Trade Commission
15

16                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18

19
     FEDERAL TRADE COMMISSION,
20
                   Plaintiff,                         Case No. 3:23-cv-2880-JSC
21
            v.                                        PLAINTIFF FEDERAL TRADE
22                                                    COMMISSION’S ADMINISTRATIVE
     MICROSOFT CORP.                                  MOTION TO CONSIDER WHETHER
23                                                    ANOTHER PARTY’S MATERIAL
     and                                              SHOULD BE SEALED
24
     ACTIVISION BLIZZARD, INC.,                       Dept.: Courtroom 8
25                                                    Judge: Honorable Jacqueline Scott Corley
                   Defendants.
26

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28   PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     CASE NO. 3:23-CV-2880-JSC
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1           Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff, the Federal Trade Commission,

2    respectfully submits this Administrative Motion to Consider Whether Another Party’s Material

3    Should be Sealed in connection with Plaintiff’s First Supplement to its Exhibit List.

4           Certain portions of Plaintiff’s First Supplement to its Exhibit List contain information

5    that was obtained during the course of litigation discovery in In the matter of Microsoft Corp.

6    and Activision, Blizzard, Inc., before the United States of America Federal Trade Commission

7    Office of Administrative Law Judges, Docket No. 9412, and that the producing party designated

8    as Confidential pursuant to the Protective Order Governing Confidential Material entered on

9    December 9, 2022 (“Administrative Protective Order”). As detailed below, Plaintiff reasonably

10   expects the producing party may file confidentiality declarations in support of sealing as

11   required by Local Rule 79-5. Accordingly, Plaintiff seeks to file under seal:
      PX#                   Description                         Docket Entry
12
      PX1555                Document Description                held for L.R. 79‐5(f) declaration
13    PX2086                Document Description                held for L.R. 79‐5(f) declaration
      PX3224                Document Description                held for L.R. 79‐5(f) declaration
14    PX4344                Document Description                held for L.R. 79‐5(f) declaration
15          Materials and documents may be provisionally filed under seal pursuant to Civil Local
16   Rule 79-5(f) when the document, or portions thereof, “has been designated as confidential by
17   another party or non-party.” L.R. 79-5(f).
18          Plaintiff has redacted the above-referenced yellow-highlighted portions of Plaintiff’s
19   First Supplement to its Exhibit List because Microsoft Corporation (“Microsoft”) has not yet
20   had an opportunity to designate the information contained therein as confidential pursuant to
21   L.R. 79-5(f). See Microsoft’s Administrative Motion Seeking In Camera Treatment of Certain
22   Exhibits Pursuant to Civil L.R. 7-11 and 79-5 (Dkt. No. 150).
23          Plaintiff has redacted the above-referenced pink-highlighted portions of the FTC Exhibit
24   List because Nintendo of America Inc. (“Nintendo”) has not yet had an opportunity to designate
25   the information contained therein as confidential pursuant to L.R. 79-5(f). See Non-Party
26   Nintendo of America Inc. Statement Pursuant to Local Rule 79-5 As To Why Its Confidential
27

28   PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     CASE NO. 3:23-CV-2880-JSC
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              Case 3:23-cv-02880-JSC Document 200 Filed 06/23/23 Page 3 of 4




1    Information Should Be Filed Under Seal (Dkt. No. 168); see also Non-Party Nintendo of

2    America Inc. Unopposed Motion for Order Changing Time (Dkt. No. 136).

3           Plaintiff takes no position on the merits of sealing Microsoft’s, Activision’s, and non-

4    parties’ designated material.

5           In compliance with Civil Local Rule 79-5(d), the unredacted version of the FTC Exhibit

6    List accompanies this Administrative Motion. In accordance with Local Rule 7-11, Plaintiff has

7    also filed a Proposed Order herewith

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12   Dated: June 23, 2023                                 Respectfully submitted,

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14                                                        /s/ Jennifer Fleury
                                                          Jennifer Fleury
15                                                        Peggy Bayer Femenella
                                                          James Abell
16                                                        Cem Akleman
                                                          J. Alexander Ansaldo
17                                                        Michael T. Blevins
                                                          Amanda L. Butler
18                                                        Nicole Callan
                                                          Maria Cirincione
19                                                        Kassandra DiPietro
                                                          Michael A. Franchak
20                                                        James Gossmann
                                                          Ethan Gurwitz
21                                                        Meredith R. Levert
                                                          David E. Morris
22                                                        Merrick Pastore
                                                          Stephen Santulli
23                                                        Edmund Saw
                                                          James H. Weingarten
24
                                                          Federal Trade Commission
25                                                        600 Pennsylvania Avenue, NW
                                                          Washington, DC 20580
26                                                        Tel: (202) 326-3570
27

28   PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     CASE NO. 3:23-CV-2880-JSC
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            Case 3:23-cv-02880-JSC Document 200 Filed 06/23/23 Page 4 of 4



                                                Erika Wodinsky
1
                                                Federal Trade Commission
2                                               90 7th Street, Suite 14-300
                                                San Francisco, CA 94103
3
                                                Counsel for Plaintiff Federal Trade
4                                               Commission

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28   PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     CASE NO. 3:23-CV-2880-JSC
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